Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 1 of 7 Page ID #:56



 1   Chris W. Arlegde (Bar No. 200767)
 2   E-mail: carlegde@turnergreen.com
     Imran F. Vakil (Bar No. 248859)
 3   E-mail: ivakil@turnergreen.com
 4   TURNER GREEN LLP
     535 Anton Boulevard, Suite 850
 5   Costa Mesa, California 92626
 6   Telephone: (714) 434-8750
     Facsimile: (714) 434-8756
 7
 8   Mathew K. Higbee (Bar No. 241380)
     Jennifer Strange (Bar No. 261353)
 9   LAW OFFICES OF MATHEW HIGBEE
10   1901 Newport Blvd., Suite 350
     Costa Mesa, CA 92627
11   Telephone: (714) 361-1967
12   Facsimile: (866) 534-7049
13   Attorney for Plaintiff
14   LAW OFFICES OF MATHEW HIGBEE
15                   UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
16              SOUTHERN DIVISION-SANTA ANA COURTHOUSE
17                                           )   Case No. SACV 09-651 MLG
18   LAW OFFICES OF MATHEW                   )   Hon. Marc L. Goldman
     HIGBEE, a California Corporation,       )
19                                           )   PLAINTIFF’S OPPOSITION TO
20                     Plaintiff,            )   DEFENDANT’S MOTION TO
           v.                                )   DISMISS FOR LACK OF
21                                           )   PERSONAL JURISDICTION;
22   EXPUNGEMENT        ASSISTANCE           )   MEMORANDUM OF POINTS
     SERVICES, a Kentucky Corporation,       )   AND AUTHORITIES;
23                                           )   DECLARATION OF MATHEW
24                       Defendant.          )   HIGBEE
                                             )
25                                           )   DATE: June 30, 2009
26                                           )   TIME: 10:00 A.M.
                                             )   COURTROOM: 6A
27                                           )
28
                                                   PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                         1         MOTION TO DISMISS FOR LACK OF PERSONAL
                                                   JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 2 of 7 Page ID #:57



 1                 MEMORANDUM OF POINTS AND AUTHORITES
 2   I.    INTRODUCTION
 3         This case arises out of the unauthorized practice of law by Expungement
 4   Assistance Services within the state of California. One of Plaintiff’s beliefs in
 5   bringing its complaint is that it will further protect California residents from harm
 6   that would be caused by Defendant’s unauthorized practice of law. Ironically,
 7   Defendant, by and through its attorney, now bring a motion to dismiss for lack of
 8   personal jurisdiction without a fundamental understanding of “minimum contacts”
 9   and without any respect for the local rules.
10         Notwithstanding Defendant’s failure to contact Plaintiff or its representative
11   prior to filing its motion in violation of local rule 7-3, Defendant fails to provide a
12   single good faith argument in its 12(b)(2) motion to dismiss. Under the liberal
13   pleading standard of Rule 8, a plaintiff need only make a prima facie showing of
14   jurisdictional facts to withstand the motion to dismiss. Clearly, plaintiff has done
15   so by alleging in its complaint that Defendant: 1) has affiliated locations in
16   California; 2) has extensively advertised in California, and directed itself to forum
17   residents; 3) purports to offer services to be performed in California courts; and 4)
18   is causing substantial harm by engaging in the unauthorized practice of law within
19   the state, whereby significant harm is being felt.
20         In response, Defendant declares that it has engaged in substantial volume of
21   business it conducts in California. Specifically “Defendant has helped 567
22   customers in California, which makes 225 California customers every year.”
23   Moreover, Defendant’s Website indicates that Defendant has had office locations in
24   both Glendale and Gardena, California. Because of the frequency of contact
25   between Defendant and the forum residents, and representations of having
26   California offices on its website, there is no doubt that Defendants retain sufficient
27   contacts with this state to support a finding of either limited or general jurisdiction.
28
                                                          PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                              2           MOTION TO DISMISS FOR LACK OF PERSONAL
                                                          JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 3 of 7 Page ID #:58



 1   II.    DEFENDANT HAS FAILED TO MEET ITS OBLIGATIONS UNDER
 2          RULE 7-3, AND ITS MOTION SHOULD BE DISMISSED
 3          ACCORDINGLY.
 4          L.R. 7-3 provides: “all cases not listed as exempt in L.R. 16-12, and except in
 5   connection with discovery motions (which are governed by L.R. 37-1 through 37-4)
 6   and applications for temporary restraining orders or preliminary injunctions,
 7   counsel contemplating the filing of any motion shall first contact opposing counsel
 8   to discuss thoroughly, preferably in person, the substance of the contemplated
 9   motion and any potential resolution. If the proposed motion is one which under the
10   F. R. Civ. P. must be filed within a specified period of time (e.g., a motion to
11   dismiss pursuant to F. R. Civ. P. 12(b), or a new trial motion pursuant to F. R. Civ.
12   P. 59(a)), then this conference shall take place at least five (5) days prior to the last
13   day for filing the motion; otherwise, the conference shall take place at least twenty
14   (20) days prior to the filing of the motion.”
15          It is the exclusive responsibility of the movant to set-up a meet-and-confer
16   meeting. However, Defendant’ never contacted anyone prior to filing their 12(b)(2)
17   motion to dismiss. See Declaration of Mathew K. Higbee (“Higbee Decl.”), ¶3.
18   By definition this is not good faith, and Defendants motion should be denied in its
19   entirety for failure to comply with this district’s rules.
20   III.   PLAINTIFF HAS MET ITS BURDEN OF PROOF IN
21          ESTABLISHING THAT THIS COURT POSSESSES PERSONAL
22          JURISDICTION OVER DEFENDANT, THEREFORE, THE SUIT
23          AGAINST HIM SHOULD PROCEED.
24          a. Minimum Contacts Standards
25          The Ninth Circuit has consistently rules that personal jurisdiction over a non-
26   resident defendant is proper where it is consistent with the forum state’s long-arm
27   statute and comports with due process of law. Fireman’s Fund Ins. Co. v. Natl’
28   Bank of Coops., 103 F.3d 888, 893 (9th Cir. 1996). California's long-arm statute
                                                         PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                               3         MOTION TO DISMISS FOR LACK OF PERSONAL
                                                         JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 4 of 7 Page ID #:59



 1   extends jurisdiction to the limits of due process incorporated in the federal
 2   Constitution. Cal. Code of Civ. Pro. § 410.10; Mattel, Inc. v. Greiner and Housser
 3   GmbH, 354 F.3d 857, 863 (9th Cir. 2003). See Harris Rutsky & Co. Ins. Servs.,
 4   Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1129 (9th Cir. 2003).
 5         In order to meet due process, a non-resident defendant must have sufficient
 6   “minimum contacts” with the forum state such that personal jurisdiction would
 7   “‘not offend traditional notions of fair play and substantial justice.’” Pebble Beach
 8   Co. v. Caddy, 453 F.3d 1151, 1155 (9th Cir. 2006)(quoting Int’l Shoe Co. v.
 9   Washington, 326 U.S. 310, 315 (1945)). In the Ninth Circuit, “minimum contacts”
10   is satisfied when: “(1) the defendant has performed some act or consummated some
11   transaction within the forum or otherwise purposefully availed himself of the
12   privileges of conducting activities in the forum, (2) the claim arises out of or results
13   from the defendant's forum-related activities, and (3) the exercise of jurisdiction is
14   reasonable.” Pebble Beach, 453 F.3d at 1155 (citation omitted).
15         Under this “minimum contacts” heuristic, a federal court may obtain either
16   general or specific jurisdiction over a defendant. Ziegler v. Indian River County, 64
17   F.3d 470, 473 (9th Cir. 1995). To support a finding of general jurisdiction, a
18   defendant must possess continuous and systematic general business contacts with a
19   state so as to approximate a physical presence there. Helicopteros Nacionales de
20   Colombia v. Hall, 466 U.S. 408, 414 (1984). As the Ninth Circuit has held, “[t]his
21   is an exacting standard, as it should be, because a finding of general jurisdiction
22   permits a defendant to be hauled into court in the forum state to answer for any of
23   its activities anywhere in the world.” Schwarzenegger v. Fred Martin Motor Co.,
24   374 F.3d 797, 801 (9th Cir. 2004). To establish minimum contacts sufficient to
25   warrant the exercise of limited jurisdiction, a plaintiff must demonstrate that an out-
26   of-state defendant purposefully directed its activities toward residents of the forum
27   state or otherwise established contacts with the forum state, that the plaintiff’s cause
28   of action arises out of or results from the defendant's forum-related contacts, and
                                                       PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                              4        MOTION TO DISMISS FOR LACK OF PERSONAL
                                                       JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 5 of 7 Page ID #:60



 1   that the forum’s exercise of personal jurisdiction in the particular case must be
 2   reasonable in that it comports with “fair play and substantial justice.” Burger King
 3   Corp. v. Rudzewicz, 71 U.S. 462, 477-478 (1985). See also Data Disc v. System
 4   Technology, 557 F.2d 1280, 1287 (9th Cir. 1997) (adopting, for the Ninth Circuit,
 5   this three-part minimum contacts test pursuant to the Supreme Court’s Burger King
 6   decision).
 7         The Ninth Circuit has also stated that where the defendant moves to dismiss
 8   for lack of personal jurisdiction, the plaintiff must “make only a prima facie
 9   showing of jurisdictional facts to withstand the motion to dismiss.’” Menken v.
10   EMM, 503 F.3d 1050, 1056 (9th Cir. 2007)(quoting Doe v. Unocal Corp., 248 F.3d
11   915, 922 (9th Cir. 2001)). Furthermore, “the court resolves all disputed facts in
12   favor of the plaintiff.” Menken, 503 F.3d at 1056 (citing Pebble Beach, 453 F.3d at
13   1154 (9th Cir. 2006)).
14         b. Notwithstanding Plaintiff’s Allegations In Its Complaint, Defendant’s
15             Declaration In Support Of Its Opposition And Website Proves That
16             It Should Be Subject To Personal Jurisdiction In California.
17         Here, Defendant’s contacts with California is well beyond “internet
18   advertis[ing]” or an isolated letter to forum residents. In its Complaint, Plaintiff
19   alleges that Defendant has had “affiliated locations in California.” (Complaint ¶3).
20   The Complaint also alleges that Defendant has done “extensive advertising directed
21   at California and purports to offer services to be performed in California courts.”
22   (Complaint ¶4). The Complaint further alleges specific examples of “unauthorized
23   practice of law” as well as “unfair, deceptive, untrue and misleading advertisement”
24   which Defendant has engaged in, aimed specifically at California residents and in
25   violation of various laws of California. (Complaint ¶¶6-7). Accordingly, Plaintiff’s
26   Complaint has established a prima facie showing of jurisdictional facts and is not
27   defective on its face. Furthermore, Defendant’s very own admission indicates the
28   substantial volume of business it conducts in California:
                                                       PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                             5         MOTION TO DISMISS FOR LACK OF PERSONAL
                                                       JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 6 of 7 Page ID #:61



 1         Since its inception, Defendant has helped 567 customers in California, which
 2         makes 225 California customers every year. Generally, Defendant charges a
           customer $99 for Defendant’s services. Thus, the annual gross sale from
 3         California amounts to approximately $22,275 (225 x $99). Defendant’s
 4         business is strong and Defendant will continue this business indefinitely.

 5   Declaration of Biran Poe (“Poe Decl.”), ¶8

 6         In order to service a California client, Defendant’s so-called “self-help

 7   packages” must necessarily include forms and instructions that are made

 8   specifically for use in California courts. (Poe Decl. ¶7). Also, Defendant’s website

 9   (“www.clearmyrecord.com”), indicates that Defendant has had office locations in

10   both Glendale and Gardena, California. See Higbee Decl. ¶4, Ex. A. This

11   contradicts Defendant’s claim that “Neither Defendant nor any of its subsidiaries

12   has set an office in the state of California.” (Poe Decl.¶3). See also Menken v.

13   EMM, 503 F.3d 1050, 1056 (9th Cir. 2007)(“[T]he court resolves all disputed facts

14   in favor of the plaintiff.”)(citing Pebble Beach, 453 F.3d at 1154).

15           By maintaining office locations in California, providing jurisdiction-

16   specific legal services to individuals with California convictions, and advertising on

17   various channels in California, which allow it generate over $22,000 in annual

18   gross sales in California, Defendant has not only consummated much more than

19   one transaction in California, but has purposefully availed itself of the privileges of

20   conducting business in California. Id. at 1155. Defendant’s contacts with

21   California are both continuous and substantial. Defendant itself admits that its

22   “business is strong and Defendant will continue this business indefinitely.” (Poe

23   Decl. ¶8).

24         Under these circumstances, it is reasonable for this Court to exercise both

25   general and specific personal jurisdiction over Defendant. See In re Tuli, 172 F.3d

26   707, 713 n.5 (9th Cir. 1999)(“Personal jurisdiction may be either general or

27   specific. Where a defendant engages in a ‘consistent and substantial pattern of

28   business relations’ in, or has other ‘substantial contacts’ with, the [forum state],
                                                       PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                              6        MOTION TO DISMISS FOR LACK OF PERSONAL
                                                       JURISDICTION
Case 8:09-cv-00651-AG-AN Document 10 Filed 06/15/09 Page 7 of 7 Page ID #:62



 1   there may be general jurisdiction over the defendant without regard to the extent of
 2   its contacts with the [forum state] during the transaction at issue in a given case.”).
 3   IV.   CONCLUSION
 4         For the foregoing reasons, Plaintiff respectfully requests that the Court denies
 5   Defendant’s Motion to Dismiss this case for lack of personal jurisdiction.
 6
 7
 8         Respectfully submitted,
 9
10
     Dated: June 15 , 2009               TURNER GREEN LLP
11
12
13                                       By: /s/ Imran F. Vakil
14                                          Imran F. Vakil
                                            Attorney for Plaintiff
15                                          LAW OFFICES OF MATHEW HIGBEE
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                       PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                                              7        MOTION TO DISMISS FOR LACK OF PERSONAL
                                                       JURISDICTION
